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MINUTE ENTRY
ENGELHARDT, J.
May 4, 2017

                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                              NO. 15-289

ANDRE DOMINICK, TIMOTHY WILLIAMS,                                   SECTION "N" (3)
DEBRA BECNEL, LISA VACCARELLA


       A status conference was conducted on Thursday, May 4, 2017, at 10:30 a.m. Participating

were Alan B. Tusa, counsel for defendant, Andre Dominick; Claude J. Kelly and Jerrod Edward

Thompson-Hicks, counsel for defendant, Timothy Williams; Guy E. Wall, counsel for defendant,

Debra Becnel; Anna L. Friedberg, counsel for defendant, Lisa Vaccarella; AUSAs Chandra Menon

and Tracey D. Knight; and Christine M. Siscaretti of the United States Department of Justice (Civil

Rights Division – EOS).




JS10(00:60)
